Case 0:21-cv-62376-RAR Document 13 Entered on FLSD Docket 12/14/2021 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 21-CV-62376-RAR

  ROBERT TAYLOR,
  individually and on behalf of all others similarly situated,

         Plaintiff,

  v.

  DHL EXPRESS (USA), INC.,

        Defendant.
  _______________________________________________/

                      ORDER DISMISSING CASE WITHOUT PREJUDICE

         THIS CAUSE comes before the Court upon the Notice of Dismissal Without Prejudice

  [ECF No. 12] (“Notice”), filed on December 14, 2021. Having reviewed the Notice and being

  otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED that the above-styled action is DISMISSED without

  prejudice. All pending motions are DENIED as MOOT.

         DONE AND ORDERED in Fort Lauderdale, Florida on this 14th day of December, 2021.




                                                           _________________________________
                                                           RODOLFO A. RUIZ II
                                                           UNITED STATES DISTRICT JUDGE
